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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )     CRIMINAL NO. 16-154 (KBJ)
 UNITED STATES OF AMERICA
                                                    )
                                                    )
               v.
                                                    )
                                                    )
 LUZ IRENE FAJARDO CAMPOS,
                                                    )
                                                    )
                                                    )
                       Defendant.
                                                    )


                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States respectfully submits this Sentencing Memorandum in the case of

defendant Luz Irene Fajardo Campos (hereafter the “defendant”), whose sentencing is currently

scheduled for 2:30 p.m. on July 21, 2020. The defendant ran a sophisticated international drug

trafficking organization, in which she sourced cocaine from Colombia, employed pilots, and

brokered the purchase of planes to fly cocaine to Central America and Mexico. She also

oversaw the importation of metric tons of precursor chemicals, some of which she processed into

methamphetamine at a laboratory located in Mexico. On December 18, 2019, the defendant was

convicted by a jury of conspiring to distribute five kilograms or more of cocaine and to

manufacture and distribute 500 grams or more of methamphetamine knowing and intending that

such substances would be unlawfully imported into the United States. ECF No. 108 (Verdict

Form). The defendant has not accepted any responsibility and there are no mitigating

circumstances in this case to justify a variance below the Guidelines range. See 18 U.S.C. §

3553(b)(1). Accordingly, the Court should impose the Guideline sentence—life imprisonment—

to reflect the nature, circumstances and seriousness of the defendant’s unlawful conduct.




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 I.    Background

            a. Procedural History

       On August 30, 2016, a grand jury returned a single-count Indictment charging the

defendant with conspiracy to distribute five kilograms or more of cocaine, 500 grams or more of

methamphetamine, and 1,000 kilograms or more of marijuana for importation into the United

States in violation of Title 21, United States Code, Sections 959(a), 960, 963. See ECF No. 1

(Indictment). On December 20, 2018, the parties filed a joint motion to amend the Indictment,

removing the marijuana distribution allegation and narrowing the time frame of the Indictment.

ECF Nos. 59, 60; Minute Order, Jan. 16, 2019 (Granting Motion to Amend Indictment). The

Indictment also includes a forfeiture allegation pursuant to Title 21, United States Code, Section

853 and 970, which is applicable to Count One. 1

       The defendant was arrested in Bogotá, Colombia on March 31, 2017, and made her initial

appearance in the District of Columbia on April 7, 2017. The defendant stood trial beginning on

December 10, 2019, and was convicted on December 18, 2019.

            b. The Offense Conduct

       Beginning at least in January 2010 and continuing through August 2016, the defendant

led an international drug trafficking organization that was directly responsible for distributing

and importing dangerous drugs into the United States. Her organization was closely affiliated

with the Sinaloa Cartel based in Mexico. The Sinaloa Cartel is one of the largest, most prolific,

and violent criminal organizations in the world.




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          The government filed a motion requesting an order of forfeiture seeking an $18,000,000
forfeiture money judgment against the defendant. See ECF No. 116.
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       Evidence at trial established the defendant directed much of her drug trafficking

operations over her BlackBerry devices. The messages intercepted by the government from

those devices established that she acquired and transported cocaine, obtained methamphetamine

precursor chemicals, manufactured methamphetamine, negotiated drug transactions and bribed

officials in Mexico. More specifically, the defendant purchased cocaine in Colombia and

coordinate its transport via airplane into Central America and Mexico. She then coordinated its

transport to the United States, where she could sell her cocaine for greater profit. In doing so,

she acquired airplanes and hired pilots willing to make dangerous drug flights. Additionally, she

acquired pilots and airplanes for the Sinaloa Cartel, for which she was also paid.

       Testimony further established that she kept a dozen pilots on retainer to fly these drug

loads on her behalf. Two such pilots, Esteban and his co-pilot, died near San Pedro Sula,

Honduras in August 2013, while transporting 500 kilograms of the defendant’s cocaine. She

spoke frankly with her son and co-conspirator “Pak-Man” in the aftermath of the crash, stating:

“Esteban died son, yesterday, we had lost him and today they found the plane.” When asked by

Pak-Man if the plane was bringing “work,” the defendant replied, “Yes, 500 kg and he went past

where he was going to land.” See Gov’t Trial Ex. 208a (Attached as Ex. 1). The defendant

further instructed Pak-Man that they found the body and sent Pak-Man a photo of the plane

wreckage. See Gov’t Trial Ex. 290 (Attached as Ex. 2). Another pilot hired by the defendant,

Rupert De Las Casas, testified that he crash landed a jet in the Venezuelan jungle in an attempt

to pick up a load of cocaine. His testimony and corresponding documentary evidence

established that the defendant coordinated this flight as well.

        The defendant’s operation was sophisticated and required extensive planning and

coordination. She had to locate pilots qualified to fly particular airplanes, acquire planes capable



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of flying between continents, receive access to clandestine airstrips, pay bribes to officials, and

find cocaine suppliers. She also needed workers to load, receive, smuggle and ultimately

distribute the cocaine. However, she did not deliver the cocaine herself or accompany any

cocaine on a “black” flight over international waters. Instead, the defendant put others’ lives and

liberty at risk. She stayed in relative safety behind her BlackBerry devices and protected by an

armed bodyguard.

       Finally, the defendant arranged to receive suitcases full of cocaine at Mexico City

International Airport after they were smuggled aboard commercial flights leaving Bogotá,

Colombia. This system undeniably required coordination with a number of corrupt officials in

Mexico and Colombia. The defendant even solicited one witness to bribe an official at the

airport to ensure the defendant’s cocaine-filled suitcases were not seized by customs. That same

witness described at trial the number of kilograms per suitcase, the number of suitcases per

flight, and the number of flights per week. The witness was present at the Mexico City

International Airport to receive one shipment of cocaine and described that the cocaine was

loaded in a vehicle in front of the airport by individuals wearing, what appeared to be, official

uniforms. In total, the witness conservatively estimated that the defendant imported at least 1200

kilograms of cocaine by this method alone.

       The defendant also conspired to import into Mexico ton quantities of monomethylamine,

a precursor chemical for methamphetamine. Gov’t Trial Exs. 37 and 38 (Attached as Ex. 3).

Moreover, she attempted to bribe custom officials to secure the release of monomethylamine

barrels that had been seized by officials in the Mexican ports of Altamira and Manzanillo. The

defendant processed some of these chemicals into methamphetamine in a laboratory she operated

with her adult sons in Sonora, Mexico. During the operation of her methamphetamine



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laboratory, her son “Activo” gave her updates over BlackBerry Messenger and sent a photograph

of finished methamphetamine, to which the defendant replied “Alright!” Gov’t Trial Exs. 151a,

152 (Attached as Ex. 4). Just like with the cocaine she distributed, she did not deliver the

methamphetamine herself or personally combine chemicals to make methamphetamine. She

again put others at risk transporting her drugs and working in a methamphetamine lab, all while

coordinating these deals over her BlackBerry devices.

       The purpose of the defendant’s drug trafficking organization was to make as much

money as possible by producing, transporting and selling drugs. The defendant knew she could

profit the most by selling methamphetamine and cocaine in the United States, where she could

demand a higher price than in Mexico. The Drug Enforcement Administration (“DEA”) seized

approximately 24 pounds of the defendant’s methamphetamine in the United States. She

attempted to sell 20 pounds of methamphetamine in Jackson, Mississippi for $180,000. She also

attempted to sell 4 pounds of methamphetamine in Tucson, Arizona for $30,000. An average

single dose of methamphetamine is approximately one-quarter of one gram. That equates to

more than 43,500 single doses of methamphetamine that the defendant would have distributed in

communities across the United States, but for law enforcement intervention.

       Drug plazas in Mexico are highly sought after territories controlled by various drug

cartels. The defendant moved her drugs under the protection of the Sinaloa Cartel, with which

the defendant was closely affiliated. In 2012, the Sinaloa Cartel was engaged in a conflict with a

rival drug trafficking organization over the Mexican state of Morelos. The defendant solicited a

witness to bribe corrupt governmental officials in an attempt to have rivals of the Sinaloa Cartel

arrested in Morelos. Further, the defendant contacted the witness in an attempt to have Sinaloa

Cartel members released from custody and to release equipment seized by law enforcement.



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The defendant also inquired of the witness if he could provide rifles to her to support the Sinaloa

Cartel’s battle for drug trafficking routes in Morelos.

        In total, the evidence at trial established that the defendant bribed officials, purchased

chemicals, coordinated the distribution of ton quantities of cocaine and distributed dozens of

pounds of methamphetamine for importation to the United States.

  II.   Objections to the Presentence Investigation Report

        On April 9, 2020, the Probation Office issued a Presentence Investigation Report (“PSR”)

for the defendant. The PSR concluded that the defendant’s overall Guidelines range in this case

is imprisonment for life. PSR ¶ 60 (Level 43, Criminal History I). The Probation Office

determined the defendant’s Base Offense Level is 38, based on an offense involving 90,000

kilograms or more of converted drug weight pursuant to U.S.S.G. §§ 2D1.1(5) and (c)(1). PSR ¶

15. Additionally, the Probation Office assessed the following enhancements: two level increase

because the defendant unlawfully imported or exported a controlled substance under

circumstances in which an aircraft other than a regularly scheduled commercial air carrier was

used pursuant to U.S.S.G. § 2D1.1(b)(3); 2 and a three level increase because the defendant was a

manager or supervisor of a criminal activity involving five or more participants pursuant to

U.S.S.G. § 3B1.1(b). PSR ¶ 18.

        While a Guidelines range of Level 43 recommends life imprisonment, the government

asserts that the following additional enhancements apply to the defendant’s unlawful conduct: (a)

a four level increase for defendant’s organizer-leader role; (b) a two level increase for possession



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         The government notes that the defendant would also be eligible for a two level increase
because the offense involved the importation of methamphetamine and another two level
increase for her direct involvement in the importation of a controlled substance. U.S.S.G. §§
2D1.1(b)(5) and (b)(16)(C). However, the Guidelines are clear that the Court should only apply
one of the enhancements for importation. U.S.S.G. § 2D1.1, cmt. n.12 and cmt. n.20(B).
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of a dangerous weapon; (c) a two level increase for bribery of a law enforcement officer; and (d)

a two level increase for maintaining a drug premises.

          a.   Organizer-Leader

        The Court should assess a four level increase pursuant to U.S.S.G. § 3B1.1(a) because

the defendant was an organizer-leader of a criminal activity that involved five or more

participants and was extensive. According to the evidence at trial and as noted in the PSR, the

defendant was the head of a drug trafficking organization aligned with the Sinaloa Cartel. PSR

¶¶ 5, 18. Application Note four to § 3B1.1 identifies the following factors the Court should

consider in distinguishing leadership from mere management: exercise of decision making

authority, nature of participation, recruitment of accomplices, claimed right to a larger share of

the fruits of the crime, degree of participation in planning or organizing the offense, nature and

scope of illegal activity, and the degree of control and authority exercised over others. U.S.S.G.

§ 3B1.1, cmt. n.4. The defendant organized cocaine flights across continents, kept up to twelve

pilots on retainer to fly drug loads, acquired jets to carry cocaine, set up a methamphetamine lab,

recruited “chemists” to make the methamphetamine, imported precursor chemicals, bribed

corrupt officials, had an armed bodyguard and directly imported cocaine and methamphetamine

into the United States. Accordingly, the government objects to only a three level increase

because the manager or supervisor enhancement does not accurately reflect the large scope of the

defendant’s leadership role within her organization.

           b. Possession of a Dangerous Weapon

       The Court should assess a two level increase for possession of a dangerous weapon

because a firearm was possessed in furtherance of the defendant’s drug trafficking activities.

U.S.S.G. § 2D1.1(b)(1). The evidence established that the defendant had a personal bodyguard



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who was armed with a pistol and accompanied the defendant to meetings to negotiate drug

transactions. Notably, this enhancement applies even if the defendant did not personally possess

the weapon. The plain language of this offense characteristic states the enhancement applies “if

a dangerous weapon was possessed.” Id. (emphasis added). Whereas other enhancements

require that the defendant specifically engaged in the conduct; for example “if the defendant used

violence. . . increase by 2 level.” U.S.S.G. § 2D1.1(b)(2) (emphasis added). “Once constructive

possession of a weapon during a drug offense has been shown, Application Note 11 of the

Guidelines instructs that ‘the enhancement should be applied … unless it is clearly improbable

that the weapon was connected with the offense.’” United States v. Bagcho, 923 F.3d 1131,

1138 (D.C. Cir. 2019) (internal citations omitted). “There must be something more than mere

presence at the scene of a criminal transaction. There must be some action, some word, or some

conduct that links the individual to the [contraband].” Id.

       The defendant’s purpose for employing an armed bodyguard was plainly for her safety

and protection while meeting with other drug traffickers to negotiate and coordinate drug

transactions. This enhancement reflects the increased danger and potential for violence when

drug traffickers possess weapons. U.S.S.G. § 2D1.1, cmt. n.11. A two level increase for firearm

possession is warranted.

           c. Bribery

       While the PSR affirmatively recognizes that the defendant committed acts of bribery, the

PSR does not include a two level increase for bribery or attempted bribery of a law enforcement

officer to facilitate the commission of the offense. PSR ¶¶ 6, 9, 16; U.S.S.G. § 2D1.1(b)(11).

Evidence at trial established that the defendant attempted to bribe customs officials at shipping

ports in Mexico to obtain methamphetamine precursor chemicals, that she bribed law



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enforcement officials in Colombia and Mexico to receive cocaine at Mexico City International

Airport, and that she attempted to bribe other law enforcement officers to secure the release of

imprisoned allies and the arrest of rival drug traffickers. This type of bribery is a clear indication

of the sophistication of the defendant’s criminal actions and increased the probability of

successful trafficking. A two level increase is warranted for bribery.

           d. Maintaining a Drug Premises

        Last, the Court should assess a two level increase because the defendant maintained a

methamphetamine laboratory in the desert outside of Hermosillo, Sonora, Mexico for the

purpose of manufacturing and distributing methamphetamine. U.S.S.G. § 2D1.1(b)(12). While

the government does not have a specific address for the lab, that is not required. Clandestine

drug labs, such as the one the defendant operated, often do not have a registered address and are

located in hidden or remote areas to avoid detection. The purpose of the defendant’s laboratory

was to manufacture methamphetamine, which she did by recruiting “chemists” and putting her

adult sons in charge of running the day to day operations at the lab. A two level increase is

warranted for maintaining a drug premises.

        Accordingly, the government asserts that the Total Offense Level under the Guidelines

should be Level 50. The corresponding Guidelines’ range is still life imprisonment.

 III.   Sentencing Factors Pursuant to Title 18, United States Code, Section 3553(a)

        The Sentencing Guidelines are advisory, not mandatory. United States v. Booker, 543

U.S. 220, 258-60 (2005). However, the Supreme Court held in Booker that sentencing courts

must consider the Guidelines in formulating an appropriate sentence. Id. In Gall v. United

States, 552 U.S. 38 (2007), the Supreme Court set forth the procedure for sentencing courts to

follow in light of Booker:



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               [A] district court should begin all sentencing proceedings by
               correctly calculating the applicable Guidelines range. As a matter of
               administration and to secure nationwide consistency, the Guidelines
               should be the starting point and the initial benchmark.

Gall, 552 U.S. at 49 (citation omitted). Next, a district court should “consider all of the §

3553(a) factors to determine whether they support the sentence requested by a party. In so

doing, [a district court] may not presume that the Guidelines range is reasonable. [A district

court] must make an individualized assessment based on the facts presented.” Id. at 49-50

(citation and footnote omitted).

       In determining the appropriate sentence, the statute directs courts to consider the nature

and circumstances of the offense and the history and characteristics of the defendant. 18 U.S.C.

§ 3553(a)(1). Further, courts are also directed to “impose a sentence sufficient, but not greater

than necessary, to comply with the purposes” of sentencing, which are:

              (A)     to reflect the seriousness of the offense, to promote respect
                      for the law, and to provide just punishment for the offense;

              (B)     to afford adequate deterrence to criminal conduct;

              (C)     to protect the public from further crimes of the defendant;
                      and

              (D)     to provide the defendant with needed educational or
                      vocational training, medical care, or other correctional
                      treatment in the most effective manner.

18 U.S.C. § 3553(a)(2).

        Courts may not presume that the appropriate sentence necessarily lies within Guidelines

range, but “the fact that § 3553(a) explicitly directs sentencing courts to consider the Guidelines

supports the premise that district courts must begin their analysis with the Guidelines and

remain cognizant of them throughout the sentencing process.” Gall, 552 U.S. at 50 n.6. The

relevance of the Guidelines throughout the sentencing process stems in part from the fact that,


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while advisory, “the sentencing statutes envision both the sentencing judge and the

Commission as carrying out the same basic § 3553(a) objectives,” Rita v. United States, 551

U.S. 338, 348 (2007), and the Guidelines are “the product of careful study based on extensive

empirical evidence derived from the review of thousands of individual sentencing decisions,”

Gall, 552 U.S. at 46; see also Rita, 551 U.S. at 349. To the extent a sentencing court varies

from the Guidelines sentence, “[it] must consider the extent of the deviation and ensure that the

justification is sufficiently compelling to support the degree of the variance.” Gall, 552 U.S. at

50.

           a. Nature and Circumstances of the Offense, and Need for the Sentence to Reflect
              the Severity of the Offense

       The defendant committed a serious crime against the United States, having been

convicted of conspiring to distribute large quantities of cocaine and methamphetamine into the

United States. Her organization was expansive and well coordinated. She utilized sophisticated

aircraft, maritime vessels, ground transportation and a system of couriers spanning over two

continents. To that end, the defendant bribed officials in Mexico and elsewhere so she and her

co-conspirators could act with impunity. She enlisted the help of numerous individuals who

worked at her direction, including her own children that she placed in charge of her

methamphetamine laboratory. She also coordinated the transportation and distribution of

cocaine with her children and coordinated directly with cocaine suppliers in Colombia. In an

intercepted BlackBerry conversation, she even instructed one cocaine producer to make her own

brand of cocaine by stamping her nickname, “JENCA,” into the bricks.

       Perhaps the most alarming aspect of the defendant’s unlawful activities is that she put

others at grave risk to accomplish her objectives. She solicited Mario Grado Field—an

otherwise law-abiding, longtime resident in the United States—to deliver methamphetamine in

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Tucson, Arizona, for which he was arrested. She coordinated the transport of 20 pounds of

methamphetamine to Jackson, Mississippi with a courier, Jorge David Ramirez Biebrich, who

was arrested in Mississippi and received a lengthy jail sentence. Clearly, the defendant did not

care about whom she hurt so long as she could make a profit trafficking drugs. She continually

put pilots and others at risk to move her cocaine. According to the testimony of Rupert De Las

Casas, drug flights often do not have a flight plan, they fly without lights or an activated

transponder, and they land on makeshift jungle runways in pitch-black conditions. These were

necessary risks for the defendant to take in order to move her drugs to maximize her profits

while minimizing the possibility that her cocaine loads would be interdicted by law enforcement.

But these risks have grave consequences to individuals involved, and the defendant’s unlawful

activities have caused the deaths of at least two pilots who were flying her cocaine.

       As the Court is well aware, cocaine and methamphetamine are extremely dangerous and

destructive substances. Cocaine abuse has devastated communities in the United States, Mexico,

Colombia, and elsewhere, ruining lives, splitting families apart, inflicting violence on innocent

by-standers, and wreaking havoc on society at large. It is also a very destabilizing and corruptive

force in countries throughout the region that do not have strong enough law enforcement

institutions to combat it, such as Mexico, further adding to the destructive nature of the crime.

Methamphetamine is just as destructive. It is often produced in laboratories in Mexico like the

defendant’s lab. It can be made cheaply in Mexico and sold for extremely high profit margins

once illegally imported into the United States as evidenced by the price the defendant expected

for 24 pounds of methamphetamine – $210,000. However, like cocaine, methamphetamine

devastates communities in the United States and wreaks havoc on individuals and families. The

social costs of methamphetamine and cocaine distribution are enormous. The defendant’s



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unlawful conduct played a significant role in perpetuating drug abuse and addiction in the United

States and its corrosive effects on communities in multiple countries.

        Ultimately, the defendant’s goal was to make as much money as possible by distributing

drugs. The defendant acted without concern for the individuals suffering from addiction or the

associated harms of drug abuse. Accordingly, the Court should impose a life sentence to reflect

the nature and seriousness of the crimes committed by the defendant.

            b. History and Characteristics of the Defendant

        The government agrees with the PSR regarding the defendant’s history and

characteristics.

            c. Adequate Deterrence

        Given the adverse impact that drug trafficking has on society and the serious detrimental

effects of cocaine and methamphetamine in communities, it is important that the Court impose a

sentence that deters others from undermining the rule of law. While this prosecution has

incapacitated some of the narcotics trafficking in Central and South America, importation of

controlled substances from those regions into the United States still occurs in large quantities.

The recommended sentence provides critical general deterrence to other narcotics trafficking

leaders that their participation in narcotics importation into the United States will result in

substantial prison sentences.

            d. Protect the Public from Further Crimes of the Defendant

        Prior to her arrest, the defendant led a drug trafficking organization for many years with

significant ties to the Sinaloa Cartel. After serving any prison sentence imposed by this Court,

the defendant will almost certainly be deported to Mexico, where the defendant is a citizen and

has substantial familial ties. She will at that point be in a physical location where she could



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conceivably return to the same criminal conduct, where she maintained significant influence over

corrupt public officials and has strong ties to active members of the Sinaloa Cartel. Only a life

sentence, as recommended by the Guidelines, will be sufficient to protect the public from the

defendant returning to criminal activity.

           e. Need for Sentence Imposed to Avoid Unwarranted Sentence Disparities Among
              Similarly Situated Defendants

       Section 3553(a)(6) articulates “the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C. §

3553(a)(6) (emphasis added). When determining whether a sentence creates an unwarranted

disparity, the Court should consider a defendant’s acceptance of responsibility, the nature and

extent of a defendant’s participation in the criminal activity, a defendant’s criminal history and

whether and to what extent a defendant cooperated. See, e.g., United States v. Mejia, 597 F. 3d

1329, 1344 (D.C. Cir. 2010) (concluding that difference in sentences was “entirely explained” by

co-defendant’s acceptance of responsibility and thus any disparity resulting from defendant’s

“harsher” sentence was not unwarranted). A defendant is only entitled to “a weighing of the

section 3553(a) factors that are relevant to [her] case, not to a particular result.” United States v.

Carrasco-De-Jesus, 589 F.3d 22, 29 (1st Cir. 2009).

       As set forth above, the defendant engaged in drug trafficking activities and conspired to

distribute ton quantities of cocaine and dozens of pounds of methamphetamine into the United

States. In arriving at its sentencing recommendation, the government has evaluated the

defendant’s role within the conspiracy and the length and extent of her criminal conduct.

       Other international narcotics traffickers, who had similar criminal culpability and who

did not provide assistance to the government, have received sentences similar to the sentence

recommended by the government. For example in the case of United States v. Thompson, et al.,

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defendant Oral George Thompson was sentenced to 286 months and defendant Dwight Knowles

was sentenced to 240 months after being convicted at trial. Both defendants were convicted of

conspiracy to distribute cocaine on board a U.S. registered aircraft from Colombia to Central

America under Title 21, Section 959(b). United States v. Thompson, et al., 12-CR-266 (D.D.C.).

However, neither Thompson nor Knowles were successful in their endeavors, nor were their

drug trafficking activities as extensive in time or scope as the defendant’s.

       Recently, in the Southern District of Florida, Sergio Neftali Mejia Duarte was sentenced

to life in prison after being convicted of conspiring to distribute cocaine in violation of Title 21,

Section 959(a). Mejia Duarte led a Honduras and Guatemala-based drug trafficking organization

that was part of the cocaine distribution supply chain from Colombia to the United States. Much

of the cocaine transported by Mejia Duarte was supplied to the Sinaloa Cartel, the same

organization with which the defendant was closely aligned. United States v. Mejia Duarte, 15-

CR-20540 (S.D.F.L.).

       Last, one of the defendant’s co-conspirators, Jorge David Ramirez Biebrich, was

sentenced in Mississippi state court to 20 years imprisonment with 10 years suspended. See Ex.

5 (Judgement of Conviction and Sentence Order). 3 Notably, Mr. Ramirez was a low-level drug

courier working for the defendant to transport and sell 20 pounds of her methamphetamine in the

United States. Whereas, the defendant was the leader of her drug trafficking organization who

had her own methamphetamine lab in addition to trafficking ton quantities of cocaine.




       3
        The date of birth listed for Mr. Ramirez in the Judgement of Conviction and Sentence
Order appears to be inaccurate. The government confirmed Mr. Ramirez’s date of birth with the
Rankin, MS Country Sheriff’s Office and the City of Pearl, MS Police Department. Mr.
Ramirez’s social security number is correctly listed in the unredacted Order.
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IV.       Conclusion

          For the reasons set forth above, the government respectfully requests that the Court

impose a Guideline range sentence of life imprisonment which is reasonable, appropriate and

matches the severity of the crimes committed by the defendant. A life sentence is sufficient, but

not greater than necessary, to hold the defendant accountable for her crimes, promote respect for

the law, deter the defendant and others from committing similar serious crimes and protect the

public.


                                               Respectfully Submitted,
                                               MARLON COBAR
                                               Acting Chief
                                               Narcotic and Dangerous Drug Section
                                               U.S. Department of Justice


                                        By:    /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Electronic Case Filing

(ECF) system with the United States District Court for the District of Columbia to counsel of

record for the defendant, this 30th day of June, 2020.




                                      By:    /s/ Cole Radovich
                                             Cole Radovich
                                             Trial Attorney
                                             Narcotic and Dangerous Drug Section
                                             Criminal Division
                                             U.S. Department of Justice




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